387 F.2d 948
    In the Matter of PARK TOWERS CORP., Bankrupt.In the Matter of RALJOED REALTY CO., Inc., Bankrupt.Evelyn MARKS, Petitioner-Appellant,v.Joseph GRASSMUCK, Respondent-Appellee (two cases).
    Nos. 127-128, Dockets 31572-31573.
    United States Court of Appeals Second Circuit.
    Argued Oct. 20, 1967.Decided Nov. 17, 1967.
    
      Eugene J. Morris, Joel J. Spector, Irving Bizar, Demov &amp; Morris, New York City, for petitioner-appellant.
      Elias Mann, H. Stephen Edelman, Levin &amp; Weintraub, New York City, for respondents.
      Before WATERMAN, MOORE and HAYS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, Evelyn Marks, who, as Executrix of her deceased father's estate, holds shares of stock in Raljoed Realty Co., Inc. and Park Towers Corp., appeals from the order of Judge Palmieri dismissing her petition to review the order of Referee Babitt, dismissing petitions filed by her 'on behalf of' those New York Corporations to have each of them adjudicated voluntary bankrupts.  We affirm the dismissal order below.
    
    
      2
      The Boards of Directors of the corporations conferred no authority upon appellant to prepare and file the petitions, and the Referee acted properly in dismissing and in vacating any orders made in proceedings thereon prior to the dismissal orders.
    
    
      3
      We need not enlarge upon the discussions contained in the opinions below which set forth the applicable law that a stockholder of a New York corporation who does not act by authority of the corporation's directors may not file a petition in bankruptcy for the corporation, 277 F.Supp. 225.
    
    